      Case 4:16-cv-01414 Document 624 Filed on 08/08/19 in TXSD Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                      IN THE UNITED STATES DISTRICT COURT                                August 08, 2019
                      FOR THE SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                  §
on behalf of themselves and all others          §
similarly situated,                             §
                                                §
                      Plaintiffs,               §
                                                §
VS.                                             §           CIVIL ACTION NO. H-16-1414
                                                §
HARRIS COUNTY, TEXAS, et al.,                   §
                                                §
                      Defendants.               §

                                            ORDER

       On August 1, 2019, the parties filed a joint motion for preliminary approval of the proposed

consent decree and settlement agreement and for approval of class notice. (Docket Entry No. 617).

Any opposition to the motion must be submitted no later than August 22, 2019. Notice of the final

fairness hearing will be sent to the class on August 29, 2019. See FED. R. CIV. P. 23(e)(1). The

fairness hearing set for August 21, 2019, is reset to September 19, 2019, at 9:00 a.m.

                      SIGNED on August 8, 2019, at Houston, Texas.


                                             _____________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge
